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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
        v.                                      )               2:08-cr-214
                                                )
 DWAYNE CRAWFORD                                )

                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                  UPON A PLEA OF GUILTY

 TO:    THE HONORABLE JAMES T. MOODY, JUDGE
        UNITED STATES DISTRICT COURT

        Upon defendant’s request to enter a plea of guilty pursuant to the Federal Rule of

 Criminal Procedure 11, this matter came on for hearing before the Honorable Andrew P.

 Rodovich, United States Magistrate Judge, on March 14, 2013, with the written consents of the

 defendant, counsel for the defendant, and counsel for the United States of America.

        The hearing on defendant’s plea of guilty was in full compliance with Rule 11, before the

 Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by the defendant under oath on

 the record, and in the presence of counsel, the remarks of Assistant United States Attorney

 Jacqueline Jacobs, and of Attorney Brian Woodward, counsel for the defendant,

        I FIND as follows:

        (1) that the defendant understands the nature of the charge against him to which the plea

             is offered.

        (2) that the defendant understands his right to trial by jury, to persist in his plea of not

             guilty, to the assistance of counsel at trial, to confront and cross-examine adverse

             witnesses, and his right against compelled self-incrimination;
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        (3) that the defendant understands what the maximum possible sentence is, including the

           effect of the supervised release term, and defendant understands that the Probation

           Department will prepare a pre-sentence report based upon the sentencing guidelines

           but that the court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by the defendant has been knowingly and voluntarily made and

           is not the result of force or threats or of promises;

        (5) that the defendant is competent to plead guilty;

        (6) that the defendant understands that his answers may later be used against him in a

            prosecution for perjury or false statement;

        (7) that there is a factual basis for the defendant’s plea; and further,

        I RECOMMEND that the court accept the defendant’s plea of guilty to the offenses

 charged in Count 1 and Count 49 of the Second Superseding Indictment and have sentence

 imposed. A presentence report has been ordered. Should this Report and Recommendation be

 accepted and the defendant adjudged guilty, sentencing is schedule before Judge James T.

 Moody on May 17, 2013 at 10:00 a.m.

        ENTERED this 20th day of March, 2013


                                                         /s/ Andrew P. Rodovich
                                                         United States Magistrate Judge




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